          Case 2:22-cv-00028-NDF Document 55 Filed 07/07/22 Page 1 of 1
                                                                                             FILED



                     IN THE UNITED STATES DISTRICT COURT
                                                                                          3:15 pm, 7/7/22
                             FOR THE DISTRICT OF WYOMING
                                                                                       Margaret Botkins
                                                                                        Clerk of Court

 WILLIAM MICHAEL CROTHERS et
 al.,

                Plaintiff,
 vs.                                                         Case No. 22-CV-028-NDF

 TETON COUNTY BOARD OF
 COUNTY COMMISSIONERS, et al.,

                Defendant.


       ORDER GRANTING PERMISSION TO FILE NON-PUBLIC DOCUMENTS


        This matter comes before the Court on Plaintiff John Doe’s Motion for Leave to File his

Motion to Proceed Under Pseudonym Under Seal. The court, having been fully informed on the

matter, grants the parties permission to file the motion, response, and reply as non-public

documents under the US. District Court of Wyoming CM/ECF Procedures Manual, paragraph

III.P, available at wyd.uscourts.gov/Wyoming-cmecf.

        The Plaintiff shall file the motion no later than July 14, 2022. The response is due July 21,

2022, and the reply is due July 28, 2022.



        Dated this 7th day of July, 2022.




                                       NANCY D. FREUDENTHAL
                                       UNITED STATES SENIOR DISTRICT JUDGE
